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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA


Haishan Yang,                                    Civil No. 25-cv-00089-JMB-SGE

                    Plaintiff,

v.                                                MOTION TO DISMISS

Hannah Neprash, Scott Lanyon,
JaneAnne Murray, and Sharon Dzik, in
his individual and official capacities,

                    Defendants.


       Defendants Hannah Neprash, Scott Lanyon, JaneAnne Murray, and Sharon

Dzik hereby move the Court for an order dismissing Plaintiff Haishan Yang’s

amended complaint pursuant to Rule 12 of the Federal Rules of Civil Procedure.

This motion is based upon all files, records, and proceedings herein.

Dated: March 18, 2025                        DOUGLAS R. PETERSON
                                             General Counsel
                                             University of Minnesota

                                             By /s/ Carrie Ryan Gallia
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